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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF VIRGINIA
                         Richmond Division



HILB ROGAL & HOBBS COMPANY

     Plaintiff,

v.                                          Civil Action No. 3:05cv574

THOMAS A. GOLUB

     Defendant.


                          MEMORANDUM OPINION

     This matter is before the Court on the Defendant’s Motion for

Summary Judgment (Docket No. 25) and the Plaintiff’s Cross-Motion

for Summary Judgment (Docket No. 27).        For the reasons set forth

below, the Defendant’s motion for summary judgment will be granted

and the Plaintiff’s motion for summary judgment will be denied.



                          STATEMENT OF FACTS

     In this action, Hilb, Rogal & Hobbs Company (“HRH”) seeks

vacatur of an arbitral decision involving HRH and the Defendant,

Thomas A. Golub (“Golub”), arguing that the arbitration panel’s

decision evinces manifest disregard for the law.          In turn, Golub

has counterclaimed, seeking confirmation of the arbitral decision

and award.

     HRH is an insurance brokerage company, and provides related

risk management and consulting services to its corporate and

individual clients.    In June 2002, HRH acquired Hobbs Group, LLC
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(“Hobbs”),     which       was   then    independently    engaged      in   providing

insurance brokerage services similar to those provided by HRH. The

terms of the sale were memorialized in a purchase agreement dated

May   10,    2002    (“Purchase         Agreement”).      At    the    time    of   the

acquisition, Golub was the President and Chief Executive Officer of

Hobbs, and one of the terms of the Purchase Agreement was that

Golub execute an employment agreement with HRH.                  On May 10, 2002,

Golub     executed    an    employment      agreement    with    HRH   (“Employment

Agreement”), contemporaneous with the Purchase Agreement.

      For reasons not pertinent to the matter at hand, and over

which there are matters of disputed fact, the relationship between

Golub and HRH deteriorated over the course of the following year.

Given this state of affairs, the parties sought to negotiate terms

for Golub’s departure from HRH.                  On August 5, 2003, the parties

signed a severance agreement (“Severance Agreement”), under which

Golub was bound by so-called non-piracy and non-raiding restrictive

covenants. The non-piracy covenant prevented Golub from soliciting

HRH’s customers or accepting invitations from HRH’s customers for

the purpose of providing certain prohibited services, during the

“restricted period.”1            The non-raiding covenant prevented Golub

from soliciting then-current employees of HRH, Hobbs, or their

affiliates,     for    the       purpose    of    employing     them   or     offering



      1
      The terms “customer,” “prohibited services,” and “restricted
period” were defined in the Severance Agreement.

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employment with Golub or another company, during the restricted

period.

     The Severance Agreement contained an arbitration clause, which

provided as follows:

             Any   dispute    or    controversy    as   to   the
             interpretation, construction, application or
             enforcement of or otherwise arising under or
             in connection with this Agreement, shall be
             submitted at the request of either party
             hereto for mandatory, final and binding
             arbitration in the City of Richmond, Virginia,
             in accordance with the commercial arbitration
             rules   then    prevailing     of   the   American
             Arbitration Association.         The Company and
             Executive waive the right to submit any
             controversy or dispute to a Court and/or jury.
             Any award rendered therein shall provide the
             full remedies available to the parties under
             the applicable law and shall be final and
             binding on each of the parties hereto and
             their    heirs,     executors,     administrators,
             successors and assigns and judgment may be
             entered    thereon      in   any    court    having
             jurisdiction.     The prevailing party in any
             such arbitration shall be entitled to an award
             by the arbitrator of all reasonable attorneys’
             fees and expenses incurred in connection with
             the arbitration.

Brief   In   Support   of    Defendant’s   Motion   for   Summary   Judgment

(hereinafter “Defendant’s Opening Brief”), Exhibit A (“Severance

Agreement”) ¶ 13.      The Severance Agreement also contained a choice

of law provision, which specified that Virginia law would govern

the Severance Agreement.

     Less than a year later, on June 25, 2004, Golub filed an

action for declaratory judgment and injunctive relief in Georgia.

See id., Exhibit B.         Golub asserted that the non-piracy and non-

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raiding     restrictive     covenants         were   overbroad       and    therefore

unenforceable.       HRH removed the action to federal court in the

Northern District of Georgia and invoked its right to arbitrate the

dispute under the terms of the Severance Agreement.                    The district

court granted HRH’s motion to stay the proceedings and to compel

arbitration on August 18, 2004.               Both parties filed demands for

arbitration with the American Arbitration Association (“AAA”) in

August 2004, contesting the enforceability of the restrictive

covenants and whether the covenants had been breached.                        See id.,

Exhibits C and D.

     On November 19, 2004, Golub moved the AAA panel for judgment

as a matter of law, seeking findings that Georgia law would govern

the Severance Agreement and that the restrictive covenants were

unenforceable under either Georgia or Virginia law.                    Golub argued

that the non-piracy covenant was unenforceable under Georgia law

because (1) the scope of restricted activity was too broad, (2) the

restricted    territory     was    too    broad,     and       (3)   the   restricted

territory was shifting.         See id., Exhibit E.            With respect to the

non-raiding covenant, Golub asserted that the restriction was

overbroad    under    Georgia     law    because     it    prevented       Golub    from

soliciting    any    HRH   employee     regardless        of   the   nature    of   the

potential employment and regardless of the employee’s current

duties. In its response brief, HRH focused primarily on the choice

of law issue and the question of enforceability under Virginia law,


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but also argued the restrictive covenants were enforceable under

Georgia law.     HRH contested the claims of overbreath, and also

argued for a relaxed level of scrutiny in determining the facial

validity of the covenants. HRH also contended that the key inquiry

was   the   relative    bargaining     power   of   the    two   parties.   See

Plaintiff’s Memorandum of Law In Opposition to Defendant’s Motion

for Summary Judgment and In Support of Plaintiff’s Cross-Motion for

Summary Judgment (hereinafter “Plaintiff’s Opening Brief”), Exhibit

D.

      On December 20, 2004, the AAA panel denied Golub’s motion for

judgment as a matter of law, holding that:

            The panel considered whether the restrictive
            covenants are facially invalid under Georgia
            law in order to determine whether the
            covenants violate the public policy of
            Georgia. The panel decides that the covenants
            are not facially invalid. In determining the
            merits of this cause at the hearing, so long
            as the covenants do not violate Georgia public
            policy, the law of Virginia will apply.

Defendant’s Opening Brief, Exhibit F (AAA Order of December 20,

2004).

      Thereafter,      the   parties   engaged      in   discovery,   including

conducting depositions.        The arbitration panel heard evidence on

April 4, 5, and 8, 2005.         At the conclusion of the hearing, the

arbitration panel asked the parties to submit post-arbitration

briefs, framing the issues to be decided.                Given the arbitration

panel’s previous ruling on choice of law, Golub argued that the


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restrictive covenants were invalid and unenforceable under Virginia

law and Georgia public policy. With respect to Virginia law, Golub

argued that the restrictive covenants were overbroad and ambiguous,

and thus unenforceable.     Golub also contended that HRH had failed

to carry its burden in proving that the covenants were narrowly

tailored to protect a legitimate competitive interest.                With

respect to Georgia public policy, Golub argued that the restrictive

covenants were per se violative of Georgia public policy by virtue

of their overbeadth.      Finally, Golub argued that, even if the

restrictive covenants were enforceable, he had not breached the

covenants.    See id., Exhibit H.

     HRH took the position that the enforceability of the covenants

had been decided by the arbitration panel’s previous order.            HRH

briefly reiterated its arguments with respect to enforceability,

but focused the majority of its briefing on the breach of contract

issue.    See id., Exhibit I.

     On June 7, 2005, the arbitration panel issued its interim

award.    In pertinent part, the interim award stated:

     1.     The preponderance of the evidence establishes that
            section 6 (Non-Piracy) and section 7 (Non-Raiding)
            of the Severance Agreement by and between Golub and
            HRH entered into on August 5, 2003 (“Agreement”)
            are unreasonable as applied to the facts of this
            case and therefore are in violation of both
            Virginia’s and Georgia’s public policies regarding
            restrictive covenants and employment agreements.
            Accordingly, they are unlawful and unenforceable.




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     2.     Additionally, the preponderance of the evidence
            establishes that Golub did not breach section 6 or
            section 7 of the Agreement.

     3.     The preponderance of the evidence establishes that
            Golub did not breach any covenant of good faith and
            fair dealing in regard to the Agreement.

Id., Exhibit J (Interim Award of Arbitrators).2          The arbitration

panel entered its final award on August 11, 2005, after resolving

the amount of attorney’s fees to be paid by HRH.        See id., Exhibit

K.   HRH filed this action, seeking vacatur of the arbitration

panels’s decision and award.



                               DISCUSSION

I.   Summary Judgment Standard

     Summary judgment is granted when, viewed in the light most

favorable to the non-moving party, “the pleadings, depositions,

answers to interrogatories, and admissions on file, together with

affidavits, if any, show that there is no genuine issue as to any

material fact and that the moving party is entitled to a judgment

as a matter of law.”     Fed. R. Civ. P. 56(c).       See, e.g., Retail

Services, Inc. v. Freebies Publishing, 364 F.3d 535, 542 (4th Cir.

2004).    The moving party bears the initial burden of demonstrating



     2
      The arbitration panel did not issue a reasoned award because
the parties did not request one before the appointment of the
arbitrator. See Reply Brief In Support of Defendant’s Motion for
Summary Judgment and Response Brief In Opposition to Plaintiff’s
Motion for Summary Judgment, Exhibit F, p.376 (transcript of
arbitration hearing); AAA Commercial Arbitration Rule 42(b).

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that “there is no genuine issue of material fact and that it is

entitled to judgment as a matter of law.”      Ryder v. Phillip Morris,

Inc., 946 F.Supp. 422, 427 (E.D. Va. 1996)(citing Celotex Corp. V.

Catrett, 477 U.S. 317, 323 (1986)).      If the moving party meets its

burden, the non-moving party must demonstrate the specific facts

with respect to which there is a genuine issue for trial.           Id.


II.   Vacatur of Arbitration Awards

      “The process and extent of federal judicial review of an

arbitration award are substantially circumscribed.”             Patten v.

Signator Ins. Agency, Inc., 441 F.3d 230, 234 (4th Cir. 2006).

Indeed, “to allow full scrutiny of such awards would frustrate the

purpose of having arbitration at all--the quick resolution of

disputes and the avoidance of the expense and delay associated with

litigation.”   Apex Plumbing Supply, Inc. v. U.S. Supply Co., Inc.,

142 F.3d 188, 193 (4th Cir. 1998).      Expanding on the policy behind

the deference granted to arbitral decisions, the Fourth Circuit has

noted that

           A policy favoring arbitration would mean
           little, of course, if arbitration were merely
           the prologue to prolonged litigation. If such
           were the case, one would hardly achieve the
           ‘twin goals of arbitration, namely, settling
           disputes efficiently and avoiding long and
           expensive litigation.’    Opening up arbitral
           awards to myriad legal challenges would
           eventually reduce arbitral proceedings to the
           status of preliminary hearings. Parties would




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          cease to utilize a process that no longer had
          finality.3

Remmey v. PaineWebber, Inc., 32 F.3d 143, 149 (4th Cir. 1994)

(omitting internal citations and quotation marks).

     “As a general proposition, a federal court may vacate an

arbitration award only upon a showing of one of the grounds

specified in the Federal Arbitration Act, or upon a showing of

certain limited common law grounds.”4         Patten, 441 F.3d at 234

(omitting internal citation).      Here, HRH has not asserted any of

the statutory grounds for vacatur under the Federal Arbitration Act

(FAA).   “The permissible common law grounds for vacating [] an

award . . . include those circumstances where an award fails to

draw its essence from the contract, or the award evidences a

manifest disregard of the law.”         Id. (citing Apex Plumbing, 142

F.3d at 193 and n.5).       See Upshur Coals Corp. v. United Mine



     3
       But see Patten, 441 F.3d at 238 (Luttig, J., dissenting)
(suggesting that the level of deference granted to arbitrators by
the Fourth Circuit may be excessive). Judge Luttig’s observation
is quite correct but so too is his related comment that only an en
banc decision of the Court of Appeals can change this unfortunate
circumstance.
     4
       “The Federal Arbitration Act provides that a federal court
may vacate an arbitration award on the following grounds: (1) the
award was procured by corruption, fraud, or undue means; (2)
partiality or corruption in the arbitrators; (3) the arbitrator was
guilty of misconduct or misbehavior in conducting the hearing in a
manner which prejudiced a party’s rights; or (4) the arbitrator
exceeded his powers, or so imperfectly executed them, that a
mutual, final, and definite award upon the subject matter submitted
was not made.” Id. (citing 9 U.S.C. § 10(a)).


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Workers of America, Dist. 31, 933 F.2d 225, 228-229 (4th Cir. 1991)

(discussing vacatur where award fails to draw its essence from the

contract).     In this case, HRH argues that the arbitration panel’s

award demonstrates a manifest disregard for the law.                 However, it

should be noted that HRH has not argued that the arbitration

panel’s decision failed to draw its essence from the contract, nor

has it contested the arbitration panel’s finding that Golub did not

breach the non-piracy and non-raiding covenants.

       A.    Manifest Disregard For The Law

       “A   legal   interpretation    of     an    arbitrator       may   only   be

overturned where it is in manifest disregard of the law.”                  Upshur

Coals, 933 F.2d at 229 (citing American Postal Workers v. United

States Postal Serv., 682 F.2d 1280, 1284 (9th Cir. 1982)). Indeed,

“[a]n arbitration award is enforceable even if the award resulted

from   a    misinterpretation   of    law,    faulty       legal    reasoning    or

erroneous     legal   conclusion,    and     may    only    be     reversed    when

arbitrators understand and correctly state the law, but proceed to

disregard     the   same.”   Id.     (omitting      internal       citations     and

quotation marks).      See also Wilko v. Swan, 346 U.S. 427, 436-437

(1953).     “[A] court’s belief that an arbitrator misapplied the law

will not justify vacation of an arbitral award.”                 Remmey, 32 F.3d

at 149.      Rather, a party seeking vacatur must “show that the

arbitrators were aware of the law, understood it correctly, found

it applicable to the case before them, and yet chose to ignore it


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in propounding their decision.”      Id.   See also Lincoln Nat’l Life

Ins. Co. v. Payne, 374 F.3d 672, 674 (8th Cir. 2004)(“If an

arbitrator, for example, stated the law, acknowledged that he was

rendering a decision contrary to law, and said that he was doing so

because he thought the law unfair, that would be an instance of

‘manifest disregard.’”).

       HRH draws much of its argument with respect to the arbitration

panel’s alleged manifest disregard for the law from the panel’s

December 20, 2004 order (“December 20 Order”).        In that order, the

arbitration panel found that the restrictive covenants were not

facially invalid under Georgia law, and ruled that Virginia law

would apply unless it was determined that the covenants ran afoul

of Georgia public policy.       Given this ruling on the applicable

state law, HRH argues that the arbitrators were aware of the law

and found it applicable to the case before them.        While the briefs

submitted to the arbitration panel demonstrate that the panel was

aware of the Virginia decisional law that HRH believes supports its

position on enforceability of the restrictive covenants, they are

insufficient to show that the arbitrators found the law applicable

to this case or to reflect the panel’s understanding of the law.

Moreover, HRH presents nothing to suggest that the arbitration

panel simply chose to ignore the controlling law in propounding its

decision on the issue of enforceability.        See Remmey, 32 F.3d at

149.


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      Essentially, HRH argues that the arbitration panel’s disregard

for the law is manifest in the very fact that it ruled against HRH.

HRH takes the position that, upon review of the entire record and

the applicable law, it will be obvious to the Court that the

arbitration panel manifestly disregarded the law. This position is

directly contrary to the law of the Fourth Circuit.               Even if the

Court were to review the entire record and applicable law and

determine that the arbitration panel was wrong, perhaps even

seriously wrong, that would not be sufficient for a showing of

manifest disregard for the law.         The mere fact that an arbitration

panel reached a legal conclusion in error is not sufficient for

vacatur.   Moreover, the doctrine of res ipsa loquitur does not

apply in this context.        Manifest disregard for the law is not

evident on the face of an adverse legal decision.               As the Eighth

Circuit has noted, “there must be some evidence in the record,

other than the result, that the arbitrators were aware of the law

and   intentionally    disregarded      it.”     Payne,   374    F.3d   at   674

(emphasis added).      HRH is not entitled to de novo review of the

record respecting the enforceability of the restrictive covenants,

and the Court declines to undertake such a review.

      The only “evidence” of manifest disregard to which HRH points,

other   than   the   result   itself,     is   the   alleged    irreconcilable

discrepancies between the December 20 Order and the interim award.

However, the perceived discrepancies are merely the product of


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HRH’s rather remarkable misreading of the December 20 Order.                        HRH

has    asserted,          in     its    post-arbitration      brief    and   in    these

proceedings, that the December 20 Order decided the issue of

enforceability in its entirety.                  In the view of HRH, the interim

award is irreconcilable with the December 20 Order because the

interim          award        holds    that    the   restrictive      covenants    were

unreasonable             on     the    facts    of   this     case,   and    therefore

unenforceable.            From this perceived inconsistency, HRH concludes

that       the    arbitration          panel   manifestly    disregarded     the   law.5

However, HRH’s reading of the December 20 Order misses the mark.

       The December 20 Order held that the restrictive covenants were

not facially invalid under Georgia law.                     In other words, on their

face, the restrictive covenants did not per se violate Georgia

public policy. The December 20 Order then made clear that Virginia

law would apply to the case, unless the covenants were found to

violate Georgia public policy.                 It could not be more clear, from a

plain reading of the order, that the issue of enforceability of the

restrictive covenants had not been foreclosed.                     The wording of the

order makes quite clear the possibility that the arbitration panel

could find that the restrictive covenants were invalid on the facts

of the case, as opposed to the face of the covenants, and that, in



       5
      At oral argument, HRH stated that it would not have filed an
action to vacate the award if the arbitration panel had simply
stated that it found for Golub. The perceived inconsistency was
central to HRH’s decision to seek vacatur.

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that event, the covenants would offend Georgia public policy.

Moreover, the pronouncement on choice of law stated nothing with

respect to the enforceability of the restrictive covenants under

Virginia law.      The order clearly reflects that the arbitration

panel had yet to decide that question.

     In the interim award, the arbitration panel found that the

restrictive covenants were unreasonable on the facts of the case,

and therefore that they violated both Georgia and Virginia public

policy   with   respect     to   restrictive      covenants       in   employment

agreements.      The finding that the restrictive covenants were

invalid as applied to the facts of the case under Georgia law was

logically consistent with the previous finding that the restrictive

covenants   were   not    invalid    on   their   face    under    Georgia     law.

Indeed, this is rather elementary.           Furthermore, the December 20

Order made no findings with respect to the enforceability of the

restrictive     covenants    under    Virginia     law,    so     there   is     no

conceivable conflict between the interim award and the December 20

Order with respect to the finding under Virginia law.

     HRH has simply adduced no evidence to support the conclusion

that the arbitration panel manifestly disregarded the law.                   There

has been no showing that the arbitration panel was aware of the

applicable law, understood it correctly, found it applicable in

this case, and yet chose to ignore it.             Thus, HRH has failed to

satisfy its burden.


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     B.     Suggested Remand for Clarification of Award

     It is undisputed that the arbitration panel was not obligated

to give a reasoned award in this case.         However, when arbitrators

fail to explain their decisions, “it is all but impossible to

determine whether they acted with manifest disregard for the law.”

Dawahare v. Spencer, 210 F.3d 666, 669 (6th Cir. 2000).             Absent

remand to the arbitration panel, “[w]hen the bases for the decision

are not explained, the reviewing court must attempt to infer from

the facts of the case whether the arbitrators appreciated and

ignored a clearly governing legal principle.”              Wedbush Morgan

Securities, Inc. v. Robert W. Baird & Co., 320 F.Supp.2d 123, 127

(S.D.N.Y.   2004)(omitting      internal    quotation   marks).    HRH    has

suggested   that   a   remand    to   the   arbitration   panel   would   be

appropriate if the Court is unable to infer manifest disregard for

the law from the available pronouncements by the arbitration

panel.6

     The issue of remand requires a brief examination of the

doctrine of functus officio.          It is a “fundamental common law

principle that once an arbitrator has made and published a final

award his authority is exhausted and he is functus officio and can



     6
      At oral argument, HRH stated that it would not want a remand
to the same arbitration panel, in which it has little confidence.
However,   only  the   same   arbitration   panel   could   provide
clarification of the reasoning behind the award.      And, indeed,
sending this matter to a new arbitration panel would simply be a de
novo arbitration proceeding.

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do   nothing    more    in   regard    to    the   subject   matter   of   the

arbitration.”    La Vale Plaza, Inc. v. R. S. Noonan, Inc., 378 F.2d

569, 572 (3rd Cir. 1967).          As the Third Circuit explained, “[t]he

policy which lies behind this is an unwillingness to permit one who

is not a judicial officer and who acts informally and sporadically,

to re-examine a final decision which he has already rendered,

because   of   the     potential    evil    of   outside   communication   and

unilateral influence which might affect a new conclusion.”                 Id.

See also Teamsters Local 312 v. Matlack, Inc., 118 F.3d 985, 991

(3rd Cir. 1997).        However, the doctrine of functus officio is

“riddled with exceptions,” and “is hanging on by its fingernails.”

Glass, Molders, Pottery, Plastics and Allied Workers Int’l Union v.

Excelsior Foundry Co., 56 F.3d 844, 845 (7th Cir. 1995) (collecting

cases and noting that doctrine of functus officio is nearly defunct

in context of labor arbitrations).           See also Pace Union, Local 4-1

v. BP Pipelines (North America), 191 F.Supp.2d 852, 856 (S.D. Tex.

2002).

     For example, “[a] remand is proper, both at common law and

under the federal law of arbitration contracts, to clarify an

ambiguous award or to require the arbitrator to address an issue

submitted to him but not resolved by the award.”              M & C Corp. v.

Erwin Behr GmbH & Co., KG, 326 F.3d 772, 782 (6th Cir. 2003)

(quoting Green v. Ameritech Corp., 200 F.3d 967, 977 (6th Cir.

2000)). “[R]emand to the arbitrator is the appropriate disposition


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of an enforcement action when an award is patently ambiguous, when

the issues submitted were not fully resolved, or when the language

of the award has generated a collateral dispute.                  In such a case a

remand is necessary to clarify precisely what the Court is being

asked to enforce.”       Oil, Chemical & Atomic Workers Int’l Union,

Local 4-367 v. Rohm & Haas, Texas Inc., 677 F.2d 492, 495 (5th Cir.

1982)(citing    United     Papermakers       and    Paperworkers,       AFL-CIO     v.

Westvaco Corp., 461 F.Supp. 1022 (W.D. Va. 1978)).                          See also

Sargent v. Paine Webber, Jackson & Curtis Inc., 674 F.Supp. 920,

923 (D.D.C. 1987) (“It is entirely appropriate for a district court

to direct arbitrators to explain their awards.                  This method avoids

any judicial guessing as to the rationale behind the award.”).                      Of

course,     “when   an   award    is    remanded        for   clarification,       the

arbitrator is limited in his review to the specific matter remanded

for clarification and may not rehear or redetermine those matters

not in question.” LLT Int’l, Inc. v. MCI Telecommunications Corp.,

69 F.Supp.2d 510, 515 (S.D.N.Y. 1999).

       In this case, however, there is nothing ambiguous about the

arbitration panel’s award.          The alleged ambiguity created by the

perceived inconsistency between the December 20 Order and the

interim     award   is   entirely      ethereal.          Thus,    remand    is    not

appropriate.        Certainly, this case raises questions about the

wisdom of allowing arbitration panels to issue awards without any

sort   of   explanation,    but     that     is    an   issue     HRH   should    have


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considered prior to negotiating the Severance Agreement and prior

to demanding arbitration.

      C.   Conclusion

      The Court finds that there is no genuine issue with respect to

the material facts recited above, and that Golub is entitled to

judgment as a matter of law with respect to HRH’s action seeking

vacatur of the arbitral award. The record cannot support a finding

of   manifest   disregard    for   the   law   by   the   arbitration   panel.

Golub’s motion for summary judgment with respect to the action for

vacatur will be granted, and HRH’s cross-motion will be denied.

      It should be noted, however, that much of this discussion is

academic in light of another finding made by the arbitration panel

in its interim award.       The arbitration panel also found that Golub

did not breach the restrictive covenants.           Thus, even if the Court

were to vacate the arbitration panel’s ruling with respect to the

unenforceability of the restrictive covenants, the alternative

ruling with respect to breach would stand.            HRH has not contested

or sought vacatur of that portion of the award.



III. Confirmation of Arbitration Awards

      Golub’s motion also seeks summary judgment on his counterclaim

for confirmation of the arbitral award.             The Federal Arbitration

Act provides that

           If the parties in their agreement have agreed
           that a judgment of the court shall be entered

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            upon   the   award   made  pursuant   to   the
            arbitration, and shall specify the court, then
            at any time within one year after the award is
            made any party to the arbitration may apply to
            the court so specified for an order confirming
            the award, and thereupon the court must grant
            such an order unless the award is vacated,
            modified, or corrected as prescribed in
            sections 10 and 11 of this title. If no court
            is specified in the agreement of the parties,
            then such application may be made to the
            United States court in and for the district
            within which such award was made.

9 U.S.C. § 9 (emphasis added).              In this case, the arbitration

clause in the Severance Agreement provided that judgment may be

entered on the arbitral award in any court having jurisdiction.

       “In an ordinary arbitration confirmation proceeding, the Court

merely converts an arbitration award into a final judgment.                  The

Court   does     not   substantively   resolve    a     particular    dispute.”

Farmers Crop Ins. Alliance v. Laux, 422 F.Supp.2d 898, 899 (S.D.

Ohio    2006).     See   also   Arbitration     Between    Westchester       Fire

Insurance      Company   v.   Massamont     Insurance    Agency,     Inc.,   420

F.Supp.2d 223, 226 (S.D.N.Y. 2005).          “The core question is whether

the parties agreed to arbitration as a binding process, one that

would bar litigation, or whether the agreement to arbitrate was

simply a dispute settlement process that was a condition precedent

to litigation.” Rainwater v. National Home Insurance Co., 944 F.2d

190, 192 (4th Cir. 1991).       “Where there is an agreement to binding

arbitration, the court must grant the order unless the award is

vacated, modified, or corrected.”            Choice Hotels Int’l, Inc. v.

Green Valley Motels, Inc., 195 F.Supp.2d 739, 740 (D. Md. 2002).


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     In this case, there is no doubt that the parties agreed to

arbitration as a binding process.       This point is not in dispute.

Indeed, the arbitration clause in the Severance Agreement states

that arbitration shall be “final and binding,” and contemplates

that a judgment maybe entered upon the arbitral award.         Given that

the arbitral award has not been modified or corrected under 9

U.S.C. §§ 10 or 11, and that the Court has granted summary judgment

against HRH and for Golub with respect to vacatur under the common

law, it is plainly appropriate to confirm the arbitral award.

There are no genuine issues of material fact in dispute, and thus

Golub is entitled to judgment as a matter of law.         Golub’s motion

for summary judgment, seeking confirmation of the arbitral award

under 9 U.S.C. § 9, will be granted.

                               CONCLUSION

     For the foregoing reasons, Defendant’s Motion for Summary

Judgment (Docket No. 25) will be granted and Plaintiff’s Cross-

Motion for Summary Judgment (Docket No. 27) will be denied.

     The Clerk is directed to send a copy of this Memorandum

Opinion to all counsel of record.

     It is so ORDERED.



                                              /s/
                                  Robert E. Payne
                                  United States District Judge


Richmond, Virginia
Date: August 18, 2006


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